      Case 1:07-cr-00189-GZS       Document 492        Filed 07/31/08     Page 1 of 2


                           UNITED STATES DISTRICT COURT

                             DISTRICT OF NEW HAMPSHIRE



 UNITED STATES OF AMERICA


 v.                                                          Criminal No. 07-189-GZS


 JASON GERHARD,

                    Defendant



            ORDER DENYING DEFENDANT GERHARD’S MOTION
      TO SUPPRESS EVIDENCE FROM CONSIDERATION AT SENTENCING

         The Court now has before it Defendant Jason Gerhard’s Motion to Suppress

Evidence From Consideration at Sentencing (Docket # 485), which seeks to prohibit the

introduction of any evidence relating to a pipe bomb found in Defendant’s bedroom at his

mother’s home in New York. Before trial, Defendant filed a Motion to Suppress the

evidence resulting from the search of his mother’s home, but no suppression hearing was

ever held. Rather, at that time, the government mooted the issue as to trial use by

advising the Court that it would not use any such evidence at trial. See United States’

Consolidated Objection to Three of Defendant Gerhard’s Motions: docket #148, docket

#151 and docket #154 (Docket # 172). In response, the government further stated that if

it later determined “that it will seek to introduce said evidence (in its case in chief or

otherwise) it will notify the Court and counsel in advance.” Id.

         Even if the evidence was seized in violation of Defendant’s Fourth Amendment

rights, such evidence is admissible at sentencing. The First Circuit has addressed this

issue and has held that even illegally seized evidence is admissible at sentencing, except,

perhaps, in very limited circumstances.
   Case 1:07-cr-00189-GZS            Document 492      Filed 07/31/08     Page 2 of 2



       Given the great weight of the precedent and following the unanimous,
       reasoned approach of our sister circuits, we hold that the exclusionary rule
       does not bar the use of evidence seized in violation of a defendant's Fourth
       Amendment rights in sentencing. We leave open the question of whether
       the exclusionary rule would bar the use of evidence when police
       intentionally act in violation of the Fourth Amendment in order to increase
       a defendant's sentence.

United States v. Acosta, 303 F.3d 78, 86 (1st Cir. 2002); see also U.S. v. Stark, 499 F.3d

72, 80 (1st Cir. 2007) (quoting with approval United States v. Acosta, 303 F.3d at 86).

       Accordingly, the Court ORDERS that Defendant’s Motion to Suppress Evidence

From Consideration at Sentencing be, and it is hereby, DENIED.


                                             /s/ George Z. Singal__________________
                                             Chief United States District Judge

Dated this 31st day of July, 2008.




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